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FILED: NEW YORK COUNTY CLERK 07/10/2020 08:07 AM                             INDEX NO. 160694/2019
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                                                                      RECEIVED  69      07/10/2020
FILED: NEW YORK COUNTY CLERK 07/10/2020 08:07 AM                             INDEX NO. 160694/2019
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                                                                      RECEIVED  69      07/10/2020
FILED: NEW YORK COUNTY CLERK 07/10/2020 08:07 AM                             INDEX NO. 160694/2019
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FILED: NEW YORK COUNTY CLERK 07/10/2020 08:07 AM                             INDEX NO. 160694/2019
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FILED: NEW YORK COUNTY CLERK 07/10/2020 08:07 AM                             INDEX NO. 160694/2019
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                                                                      RECEIVED  69      07/10/2020
FILED: NEW YORK COUNTY CLERK 07/10/2020 08:07 AM                             INDEX NO. 160694/2019
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                                                                      RECEIVED  69      07/10/2020
FILED: NEW YORK COUNTY CLERK 07/10/2020 08:07 AM                             INDEX NO. 160694/2019
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                                                                      RECEIVED  69      07/10/2020
FILED: NEW YORK COUNTY CLERK 07/10/2020 08:07 AM                             INDEX NO. 160694/2019
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                                                                      RECEIVED  69      07/10/2020
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                                                                      RECEIVED  69      07/10/2020
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                                                                      RECEIVED  69      07/10/2020
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                                                                      RECEIVED  69      07/10/2020
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                                                                      RECEIVED  69      07/10/2020
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                                                                      RECEIVED  69      07/10/2020
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                                                                      RECEIVED  69      07/10/2020
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                                                                      RECEIVED  69      07/10/2020
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